         Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 1 of 24




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                  COLUMBUS DIVISION

H & L FARMS, LLC;                                        *
SHAUN HARRIS and AMIE HARRIS,                            *
                                                         *
        Plaintiffs,                                      *
                                                         *       CIVIL ACTION FILE
v.                                                       *
                                                         *       NO. 4:21-CV-00134-CDL
SILICON RANCH CORPORATION;                               *
SR LUMPKIN, LLC; INFRASTRUCTURE                          *
AND ENERGY ALTERNATIVES, INC.;                           *
IEA CONSTRUCTORS, LLC; and,                              *
WESTWOOD PROFESSIONAL                                    *
SERVICES, INC.,                                          *
                                                         *
        Defendants.                                      *

                        PLAINTIFFS’ NOTICE PURSUANT TO ¶ 8 OF
                          DECEMBER 16, 2022 ORDER (Doc. 157)

        Plaintiffs hereby give notice that they may introduce the deposition testimony of the

below witnesses at the trial of this case: 1

4/11/22 deposition of Craig Zeller
5/25/22 deposition of Joel Wooten
6/15/22 deposition of Brian Wellington

        Plaintiffs hereby give notice that they may introduce 2 portions of the following

depositions that were not videotaped, and provide herein the page and line numbers of the

deposition testimony Plaintiffs may intend to introduce:



1
  It is Plaintiffs’ intention to have those three witnesses present for trial, if they are to testify, as
“may call” witnesses. This notice is given in case for some unforeseen reason one or more of
them is unavailable.
2
  Plaintiffs use the words “may introduce” because Plaintiffs are attempting to do all they can to
streamline the presentation of the case, which is a work in progress; Plaintiffs hope to not
introduce into evidence all the depositions referenced herein. At this point it is not certain what
issues will be tried, or what positions defendants SRC and IEA will take, so Plaintiffs are
compelled to retain the ability to “intend to introduce portions” of the referenced depositions.
       Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 2 of 24




6/17/22 deposition of Brad White:

      8/4-8

      9/18-10/14

      10/25-11/4

      12/16-25

      13/14-21

      15/3-11

      15/16-16/20

      16/24-17/10

      17/18-19

      18/16-19

      18/22-24

      19/1-17

      22/16-22

      25/13-27/8

      28/7-13

      28/23-29/9

      29/20-31/4

      31/8-32/11

      32/20-22

      33/15-34/9

      34/14-35/16

      35/19-21



                                      2
       Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 3 of 24




      36/16-18

      36/22

      37/5-8

      37/11

      38/22-39/2

9/13/2022 deposition of Andrew Nelson:

      5/16-18

      12/21-13/8

      24/18-20

      150/5-24

      158/16-159/11

      160/16-20

      160/23-161/3

      162/20-163/15

      171/17-172/9

      172/12-22

      173/1-7

      173/11-20

      174/8-24

      175/1-4

      176/1-3

      176/8-25

      177/18-179/10



                                         3
       Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 4 of 24




      179/16-180/7

      180/11-181/2

      181/6-15

      181/18-182/3

      182/7-22

      185/20-186/9

      190/17-191/13

      191/22-192/15

      192/18-193/12

      198/6-18

9/14/22 deposition of Aaron Mylnek:

      3/23-25

      9/18-10/6

      11/3-10

      11/20-22

      17/3-18/19

      89/5-91/1

      91/5-92/9

      111/1-15

      181/4-11

      212/17-24 (ending with “for you”)

      214/14-21

      215/1-218/5

      218/23-219/5


                                          4
Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 5 of 24




219/17-221/1

221/12-23

222/3-6

222/14-223/4

223/8-18

224/1-225/13

225/15-226/16

227/13-16

227/25-231/15

231/20-233/6

236/20-238/14

238/18-239/7

239/10-13

239/17

239/21-240/21

241/2-3

241/8-243/7

243/20-244/6

250/22-251/1

251/9-252/15

252/18-20

253/8-23




                               5
        Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 6 of 24




       Plaintiffs hereby give notice that they may introduce 3 edited videotapes composed of the

following portions of the following depositions that were videotaped, and provide herein the

page and line numbers of the deposition testimony Plaintiffs may intend to introduce: 4

4/25/22 deposition of Tony Greco:

       8/23-12/6

       12/15-13/5

       13/23-15/4

       16/1-17/20

       21/6-14

       21/22-23/20

       24/14-25/4

       25/21-23

       27/10-28/5

       29/8-11

       29/24-30/8

       31/20-32/16



3
  Again, it is Plaintiffs intent and hope not to present the referenced portions of all these
depositions, to the extent possible. Some of these witnesses may show up live at trial, in which
event if Plaintiffs are given notice of that sufficiently in advance to prepare a live cross
examination, then Plaintiffs may not play the edited videotaped depositions (although Plaintiffs
may well still use the referenced portions for cross examination).
4
  Plaintiffs have not submitted to defendants copies of the videotapes for the referenced
depositions, as defendants each already have those videotapes. (If any defendant is missing any
videotape, said defendant can readily obtain one from the videographer, or if that fails, said
defendant can email that information to Plaintiffs’ counsel, and Plaintiffs’ counsel will provide a
copy of said videotape as promptly as possible). Edited versions of the videotapes to be used at
trial have obviously not yet been prepared, as “objections” to Plaintiffs’ designations have not
been made (as contemplated by the second paragraph of ¶8 or been ruled upon by the Court; nor
have “counter-designations” been made (as contemplated by the third paragraph of ¶8).
                                                 6
Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 7 of 24




33/12-34/13

38/14-44/23

45/9-16

46/6-12

50/11-21

53/4-11

54/2-7

68/20-69/11

72/14-73/10

76/25-77/4

77/13-15

79/23-80/15

82/6-21

82/25-84/7

84/25-85/7

85/10-86/6

104/4-19

107/3-110/11

123/3-9

124/19-125/6

132/24-133/14

148/16-150/13

151/19-153/24



                               7
Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 8 of 24




161/6-12

162/21-163/4

165/22-166/1

167/22-168/3

168/16-25

176/1-8

177/17-25

178/19-21

179/13-180/23

211/13-18

213/16-24

214/1-2

214/6-11

215/1-6

216/19-23

218/13-19

222/21-23

223/1-6

224/8-13

240/22-241/5

242/15-17

242/20-243/3

243/7-12



                               8
       Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 9 of 24




      243/17-23 (ending at “No.”)

      244/16-25

      245/3

      253/8-18

      404/25-405/3

      410/12-21

      411/3-8

      412/10-16

      415/11-416/5

      416/15-24

      417/23-418/4

      418/24-420/4

      421/11-23

      423/8-17

      424/12-15

      425/5-8

5/9/22 deposition of Reagan Farr:

      8/1-12/2

      12/6-17/23

      19/4-21/19

      22/17-23/21

      24/1-25

      27/10-22



                                      9
Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 10 of 24




30/18-34/2

34/6-15

40/22-41/22

44/21-45/20

61/20-62/8

62/21-64/16

66/4-20

69/22- 74/18 (through “don’t know”)

78/14-83/19

125/5-129/1

137/9-140/5 (through “yes”)

140/19-23

158/4-21

159/1-160/4

161/7-164/2

169/9-24

173/15-174/25

175/4-176/17

176/20-180/11

182/23-186/14

187/18-188/10

189/3-191/2

192/6-193/21



                                      10
       Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 11 of 24




      196/11-21

      197/2-23

      198/14-199/12

      210/7-212/17

      216/22-221/11

5/9/22 deposition of John Thompson:

      6/1-53/17

5/18/22 deposition of Michael Taylor:

      8/17-22

      8/25-9/8

      9/24-10/13

      17/19-18/7

      18/13-15

      21/4-17

      21/21-22/5

      23/6-26/1

      26/4-29/15

      29/18-30/9

      33/23-34/6

      36/23-37/21

      41/5-18

      43/4-11

      44/12-46/10



                                        11
Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 12 of 24




46/24-47/21

47/24-49/2

49/5-15

49/22-50/6

50/13-51/20

51/25 (starting at “Do”)-53/5

57/3-9

58/8-59/4

59/12-60/1

60/8-14

62/7-63/5

63/14-24

64/2-6

65/1-66/8

201/3-202/19

213/18-215/8

216/7-218/5

218/18-20

219/13-22

220/9-21

221/1-222/9

222/24-25

223/5-7



                                12
       Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 13 of 24




       223/10-12

       224/3 (starting with “Have”)-224/11

       224/17-225/16

       228/10-11

5/21/22 deposition of James Allen:

       5/3-25

       6/8-21

       8/8-11/22

       12/21-25

       13/13-18

       14/13-17

       15/11-14

       16/23-25

       21/8-22/5

       26/10-28/14

       34/14-35/10

       36/5-41/13

       44/1-3

       44/23-45/22

       46/12-47/21

       48/24-49/5

       50/6-51/7

       51/17-24



                                             13
      Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 14 of 24




      52/5-21

      53/1-23

      55/11-19

      61/8-9

      130/2-20

      130/24-131/7

      131/10-18

      131/20—132/11

      132/17-133/6

      139/18-141/7

      141/14-143/5

5/24/22 deposition of Austin Fednander:

      4/1-5

      4/24-5/8

      6/5-10

      7/2-14

      11/24-12/19

      12/25-14/1

      15/11-13

      15/25-16/16

      24/19-26/10

      27/2-10

      28/8-25



                                          14
Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 15 of 24




29/6-25

30/6-31/15

32/3-35/14

37/22-38/19

40/10-25

41/22-24

42/22-43/24

44/4-14

45/3-8

45/13-19

51/1-2

51/12-52/1

59/8-60/6

60/15-61/9

61/20-23

62/1-5

67/15-25

69/22-70/15

76/17-77/5

82/8-9

82/18-83/11

83/1-11

83/15-84/24



                               15
       Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 16 of 24




       85/1-22

       86/15-88/22

       88/24-89/12

       89/15-16

       90/3-91/4

       93/18-95/4

5/31/22 deposition of Erin Harris:

       5/19-23

       6/14-7/11

       9/25-10/16

       11/2-7

       11/16-12/15

       12/24-13/6

       14/4-12

       15/1-8

       16/12-20

       17/6-18/25

       23/19-24

       25/23-25

       26/1-10

       26/15-27/12

       28/2-7

       28/17-29/6



                                      16
Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 17 of 24




30/21-31/5

45/8-10

46/17-47/2

51/14-21

57/9-14

72/10-17

80/7-14

94/8-21

105/1-7

132/13-20

134/13-19

135/14-24

150/11-151/2

153/10-23

156/4-21

164/10-17

166/21-167/14

172/5-14

173/14-23

180/7-22

181/13-182/4

211/10-22

215/4-17



                               17
Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 18 of 24




249/14-250/21

253/2-9

261/10-262/4

270/7-19

272/24-274/18

276/16-277/13

278/25-279/12

282/5-283/9

289/8-15

290/16-19

291/9-17

292/17-294/8

294/16-23

294/25-295/10

296/25-298/21

300/10-301/10

302/10-23

303/10-17

303/20-304/6

304/14-22

305/12-23

317/1-24




                               18
       Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 19 of 24




6/14/22 deposition of Brian Alfredson:

       8/1-9/20

       11/6-25/23

       29/24-31/15

       32/21-33/17

       37/10-39/14

       39/17-40/1

       41/2-45/19

       46/5-50/18

       57/23-71/15

       73/14-76/2

       77/22-79/1

       79/12-80/14

       81/3-84/18

       89/14-92/14

6/17/22 deposition of Jeffrey Doubrava:

       6/8-31/25

       32/20-37/7

6/20/22 deposition of Stephen Burdette:

       12/14-13/19

       17/24-18/4

       20/5-14

       249/2-4

       249/12-21

                                          19
Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 20 of 24




250/1-251/15

252/25-253/22

254/9-18

255/20-256/4

256/12-257/18

257/23-258/1

258/18-259/5

259/7-10

259/13-23

259/25-260/4

261/18-263/6

264/7-25

265/9-18

266/9-24

267/11-22

268/15-21

268/24-270/7

270/10-20

273/8-15

274/1-20

277/14-278/1

295/25-296/24

298/1-14

299/10-16




                               20
      Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 21 of 24




6/20/2022 deposition of James Melton:

      6/5-9/4

      9/20-23

      12/5-11

      14/17-22

      15/19-23

      17/18-22

      21/19-22/13

      28/20-30/6

      34/3-21

      35/1-11

      35/23-36/2

      53/4-20

      110/14-111/24

      112/11-14

      112/17-20

      112/23-113/5

      113/19-21

      113/23-114/2

      114/14-115/8

      115/11-20

      115/25-116/8

      116/13-21

      119/14-21

      119/24-120/1


                                        21
       Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 22 of 24




       121/3-5

       121/9-16

       121/19-23

       122/2-7

       122/9-123/9

       124/14-15

       129/16-19

6/21/22 deposition of Philip Exley:

       8/1-17

       17/11-17

       17/21-18/12

       274/24-275/2

       275/15-16

       276/15-278/20

       279/19-280/17

       283/1-16

       284/14-22

       286/10-18

       287/13-20

       288/8-21

       289/4-7

       289/13

       289/15-19

       291/7-21

       292/1-294/8


                                      22
Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 23 of 24




294/24-25

295/9-18

295/21-296/7

296/12-15

296/18-297/4

297/13-17

297/21-25

298/3-5

299/1-300/6

300/18-20

300/24-301/11

304/10-11

314/21-315/23

316/6-317/3

Respectfully submitted this 13th of January, 2023.

                                     /s/ James E. Butler, Jr.
                                     JAMES E. BUTLER, JR.
                                     Georgia Bar No. 099625
                                     jim@butlerprather.com
                                     DANIEL E. PHILYAW
                                     Georgia Bar No. 877765
                                     dan@butlerprather.com
                                     CAROLINE W. SCHLEY
                                     Georgia Bar No. 511349
                                     caroline@butlerprather.com
                                     BUTLER PRATHER LLP
                                     105 13th Street
                                     Post Office Box 2766
                                     Columbus, GA 31902
                                     T: (706) 322-1990 F: (706) 323-2962

                                     C. FREDERICK OVERBY
                                     Georgia Bar No. 555845

                                        23
Case 4:21-cv-00134-CDL Document 167 Filed 01/13/23 Page 24 of 24




                             Fredoverby@overbylaw.com
                             OVERBY LAW OFFICE, P.C.
                             Post Office Box 1975
                             Columbus, Ga 31902
                             T: (706) 327-0300    F: (706) 320-0053

                             C. COOPER KNOWLES
                             Georgia Bar No. 426699
                             cknowles@cckfirm.com
                             LAW OFFICE OF C. COOPER KNOWLES, LLC
                             750 Hammond Drive
                             Building 12, Suite 200
                             Sandy Springs, GA 30328
                             T: (770) 668-2081

                             ATTORNEYS FOR PLAINTIFFS




                               24
